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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
VIJAY JAIN,                                                     Case No.: 20-CV-5442
                                                                       (JMF)
                                      Plaintiff,

       - against –                                              VERIFIED AMENDED
                                                                COMPLAINT
THE CITY OF NEW YORK, the NEW YORK CITY
POLICE DEPARTMENT, DET. TAMARA WILLIAMS,
NEW YORK STATE DEPT. OF CORRECTION AND
COMMUNITY SUPERVISION aka BOARD OF
PAROLE, PAROLE OFFICER ANDRE LOGAN,
PAROLE OFFICER RONNITA CAMPBELL, PAROLE
OFFICER RAYNOLDO MARISTANY, and JOHN
DOES 1-10, agents of the defendants, names being
fictitious as their true identifies are unknown at this
time,

                                       Defendants.
------------------------------------------------------------X

        Plaintiff, by his attorney, NORA CONSTANCE MARINO, ESQ.

complaining of the Defendants herein, respectfully show this Court, and allege

as follows:



                               PRELIMINARY STATEMENT

        1.     That at all times hereinafter mentioned, the plaintiff VIJAY JAIN

(“JAIN”) was and still is a resident of the County of New York, State of New York.

        2.     That at all times hereinafter mentioned, defendant CITY OF NEW

YORK (“CITY”) was and still is a municipal corporation, duly organized and

existing under and by virtue of the law of the State of New York.
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      3.    That at all times hereinafter mentioned, defendant NEW YORK CITY

POLICE DEPARTMENT (“NYPD”) was and still is a municipal corporation and/or

municipal police department, duly organized and existing under and by virtue of

the law of the State of New York.

      4.    That at all times hereinafter mentioned, defendant DET. TAMARA

WILLIAMS (hereinafter, “WILLIAMS”), was an agent, servant, and/or employee of

defendants City, NYPD, and/or Board; was a member of the City, NYPD, and/or

Board; and was acting for, upon, and in course of and in furtherance of the

business of their employer and within the scope of their employment for

defendants City, NYPD, and/or Board.

      5.    That at all times hereinafter mentioned, defendant NEW YORK

STATE DEPT. OF CORRECTION AND COMMUNITY SUPERVISION, also known

as BOARD OF PAROLE (hereinafter, “BOARD”), was and still is a municipal

and/or state department and/or agency, duly organized and existing under

and by virtue of the law of the State of New York.

      6.    That at all times hereinafter mentioned, PAROLE OFFICER ANDRE

LOGAN (“Logan”), was an agent, servant, and/or employee of defendants City,

NYPD, and/or Board; was a member of the City, NYPD, and/or Board; and was

acting for, upon, and in course of and in furtherance of the business of their

employer and within the scope of their employment for defendants City, NYPD,

and/or Board.




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      7.    That at all times hereinafter mentioned, PAROLE OFFICER

RONNITA CAMPBELL (“Campbell”) was an agent, servant, and/or employee of

defendants City, NYPD, and/or Board; was a member of the City, NYPD, and/or

Board; and was acting for, upon, and in course of and in furtherance of the

business of their employer and within the scope of their employment for

defendants City, NYPD, and/or Board.

      8.    That at all times hereinafter mentioned, PAROLE OFFICER

RAYNOLDO MARISTANY (“Maristany”) was an agent, servant, and/or employee

of defendants City, NYPD, and/or Board; was a member of the City, NYPD,

and/or Board; and was acting for, upon, and in course of and in furtherance of

the business of their employer and within the scope of their employment for

defendants City, NYPD, and/or Board.

      9.     That at all times hereinafter mentioned, defendants John Does 1-

10, names being fictitious as names are unknown at this time, were agents,

servants, and/or employees of defendants City, NYPD, and/or Board; were

members of the City, NYPD, and/or Board; and were acting for, upon, and in

course of and in furtherance of the business of their employers and within the

scope of their employment for defendants City, NYPD, and/or Board.

      10.   That all times hereinafter mentioned defendants City, NYPD, and/or

Board employed police officers, parole officers, and/or jailors and others hereafter

mentioned in this complaint.




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       11.     That at all times hereinafter mentioned, defendants City, NYPD,

and/or Board owned, maintained, supervised, managed, operated, inspected and

controlled the various jails, police officers, parole officers, facilities, police

stations, police precincts, police equipment, police vehicles, all hereinafter

mentioned in the complaint.

       12.     That at all times hereinafter mentioned, all of the actions of the

officers allege herein were done within the scope and course of their employment

with defendants City, NYPD, and/or Board and under color of the state law.

       13.     That prior to the commencement of this action, and within ninety

(90) days after the happening of the incident herein, plaintiff herein served a

Notice of Claim in writing upon the defendants CITY.

       14.     That a 50-H hearing has been adjourned without date, pursuant to

a stipulation between the parties, which permits plaintiff to commence

litigation prior to the 50h hearing being held, but within the statute of

limitations.

       15.     That this action is commenced within one (1) year and ninety (90)

days of the date when the incident occurred to the plaintiff.




                                         FACTS


       16.     Plaintiff repeats, reiterates, and realizes all of the allegations set

forth above.

       17.     On 7/9/13, plaintiff and a female co-defendant named Shavaler
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Johnson were located in the back room of an apartment belonging to parolee

Melshawn Johnson, located at 22 West 128th Street, Apt. 2C, New York, New

York 10030 (the subject location). On 7/9/13, parole officers executed a parole

warrant (not a search warrant) at the subject location seeking parolee,

Melshawn Johnson. Parole officers arrived at the subject location and made

their presence known by either knocking on the door or ringing a doorbell.

      18.    Melshawn Johnson opened the apartment door and was

immediately arrested at the front door. The parole team/officers then entered

the apartment, despite having no apparent reason to do so, as they were only

there to apprehend Melshawn Johnson and had achieved that objective. The

officers discovered plaintiff and Shavaler Johnson sitting in the rear living room

of the apartment, which also has a kitchen separated by an island counter.

Allegedly, as later claimed by the parole team/officers, on that counter was a

bag containing 26 twists of crack cocaine (amongst a lot of clutter).

      19.    The defendant BOARD and defendant parole officers requested and

received assistance from the defendant CITY, NYPD, Det. Williams, and JOHN

DOES, other agents of the CITY and NYPD; Det. Williams appeared on the

scene.

      20.    Defendants claim that none of them photographed the “bag”;

defendants failed to preserve the “bag”.

      21.    Plaintiff, Melshawn Johnson, and Shavaler Johnson were each

charged with Criminal Possession of a Controlled Substance in the Third


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Degree (possession with intent to sell) and Criminal Possession of a Controlled

Substance in the Fifth Degree (possession of over 500mgs of cocaine).

      22.    Melshawn Johnson pleaded guilty in 2013. Significant evidence

existed, however, that exculpated plaintiff’s and Shavaler Johnson’s guilt.

Specifically, testimonial and physical evidence (and the absence thereof)

revealed that the bag was opaque and not clear, thus indicating that “the bag”

was not in “plain sight”, and thus, there would be no probable cause to search

the bag without a search warrant. Thus, any search of the bag revealing its

contents was illegal, and any arrest following was fruit of a poisonous tree.

Moreover, if the bag were not clear, plaintiff’s knowledge of the bag’s contents,

particularly in a residence that is not his own, was wholly unsupported.

      23.    Evidence existed supporting the proposition that the bag was not

clear, as follows:

             -Parole Officer Maristany’s 2013 grand jury testimony (describing

      the bag of drugs next to Parole Officer Campbell, who was allegedly the

      first to observe it): “It was bundled. Once it was opened, they had small

      packages of white powdery substance” (emphasis added). This testimony

      revealed that the contents of the bag was not able to be ascertained

      without opening it; thus, the bag could not be clear. In a 2019 meeting

      between Officer Maristany, plaintiff’s then-trial counsel, and Shavaler

      Johnson’s trial counsel, Officer Maristany admitted that it was unlikely

      that he would have given such testimony if the bag were clear.


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            -Parole Officer Logan’s 2013 grand jury testimony: “There was a

      bundle in a white bag, which I recognized as being crack cocaine.”

      (emphasis added). Logan admitted that the bag was not clear, but

      rather, white.

            -In the 2019 criminal trial, Officer Logan testified that he has

      heard and used the term “clear bag” numerous times over his many

      years as a parole officer and is very familiar with it. Nevertheless, he

      used the term only to describe the bag of marijuana while describing the

      bag containing the cocaine as a “white” bag.

      24.   Plaintiff awaited trial for twenty-two months, incarcerated. During

this entire time, defendants had no photographs of the bag, and by the time

trial took place, defendants claimed to have lost possession of the bag. At

plaintiff’s criminal trial and/or suppression hearing, defendants gave

conflicting sworn testimony that the bag was clear. Yet, they were unable to

produce the bag as evidence, nor were they able to even produce photographs,

to which they testified, stating that no photographs were taken.

      25.   The defendants herein gave inconsistent, conflicting versions of

what occurred at the time of plaintiff’s arrest and with respect to the

surrounding circumstances, specifically, the color of and visibility with respect

to the bag, and knowingly and willingly informed the prosecutor of untrue

condemning and unfavorable versions of what allegedly occurred, specifically,

that the bag was clear as opposed to white.


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      26.    There was ample evidence that the bag was not clear, yet,

defendants withheld this information from the prosecutor, and conveniently no

longer possessed the bag, and there were no photographs taken. This

misinformation was given to the prosecutor in a malicious manner to

commence an unwarranted prosecution against the plaintiff herein.

      27.    The fact that the defendants never photographed the bag, nor was

the bag preserved, further supports the premise that the bag was not clear,

and thus, defendants had no legal or constitutional right to search it; yet,

defendants continued to encourage the prosecutor to proceed with a malicious

prosecution. Defendants then destroyed the evidence that could have been

exculpatory for the plaintiff.

      28.    Defendants did more than just disclose facts to the prosecutor, but

rather, influenced the prosecutors’ decision to prosecute, in that the

information provided to the prosecutor was replete with omissions,

misrepresentations, and falsehoods. The defendants’ failure to make a full and

complete statement of the facts to the prosecutor or the court, and holding

back information that might have affected the choice to proceed with

prosecution or results of a trial, constitutes an abuse of process and malicious

prosecution on behalf of the defendants herein, inter alia.

      29.    Plaintiff was tried in 2013 and convicted of Criminal Possession of

a Controlled Substance in the Third Degree (possession with intent to sell) and

Criminal Possession of a Controlled Substance in the Fifth Degree. An appeal


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was filed, and the conviction was reversed. Plaintiff was retried on or about

April 18, 2019 to April 26, 2019. On April 26, 2019, he was acquitted of all

charges, but only after spending twenty two months in jail.

      30.   Testimony at both criminal trials established that the failure to

preserve the bag broke protocol and a bag containing drugs should always be

preserved. Such testimony came from the vouchering NYPD detective Williams

(formerly Miller), an NYPD chemist, and an NYPD narcotics expert. Failure to

photograph such critical evidence also broke protocol.

      31.   This leads to the reasonable conclusion that the bag containing the

drugs was intentionally lost or destroyed to hide the fact that the bag was not

clear, for a white or opaque bag would have made the search of the bag and

subsequent arrests of plaintiff and Shavaler Johnson illegal, and would also

make proving plaintiff’s and Shavaler Johnson’s knowledge of its contents

impossible. In other words, defendants intentionally lost or destroyed

exculpatory evidence.

      32.   Plaintiff’s First, Fourth, Fifth, and Fourteenth Amendment rights,

due process rights, equal protection, and other federal and New York State

constitutional rights, were violated and not honored; Plaintiff was injured,

wrongfully prosecuted, tried, detained, arrested, and searched, without

justification, authorization, provocation or cause by the defendants herein, who

were acting either personally or in the scope of their employment and in

furtherance of the business of the defendants herein.


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       33.    That plaintiff did not violate any law, rule, or regulation, or acted in

any way that would justify said actions.

       34.    That the wrongful, unjust, and unlawful apprehension, search,

arrest, and prosecution of the plaintiff were carried out without probable cause or

any cause whatsoever, but rather, were carried out with malice.

       35.    That the wrongful, unjust, and unlawful apprehension, search,

arrest, and prosecution were carried out without reasonable suspicion, or any

reason whatsoever.

       36.    Although the defendants knew that the illegal search which was

conducted without the existence of probable cause, that they improperly failed

to photograph alleged evidence, that they allowed critical alleged evidence to

become lost or destroyed, and that they gave conflicting testimony, defendants

pursued the malicious prosecution of the plaintiff, in violation of plaintiff’s

constitutional rights; the defendants processed plaintiff generating misleading

and false accusatory instruments in order to lay charges against plaintiff even

though defendants knew or had reason to know that they were making an

illegal arrest and were encouraging a malicious prosecution.

       37.    That all of the foregoing occurred without any fault or provocation of

the part of the plaintiff.

       38.    The direct and proximate results of the defendants’ acts are that

plaintiff suffered severe and permanent injuries including deprivation of his

freedom and liberty, and resulting physical and psychological injuries, among


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other things.

                           FIRST CAUSE OF ACTION
                           AS TO ALL DEFENDANTS:
                        PURSUANT TO 42 U.S.C §§ 1983,
                   FIRST, FOURTH, FIFTH, AND FOURTEENTH
                           AMENDMENT VIOLATIONS

      39.    Plaintiffs repeats, reiterates and realleges each and every allegation

contained in the prior paragraphs with the same force and effect as if more

fully and at length set forth herein.

      40.    Defendants were acting under color of state law, and while acting

under color of state law, defendants deprived plaintiff of a federal constitutional

right and statutory right, and by way of defendants’ acts, defendants caused

damages to be suffered by plaintiff.

      41.    Defendants, in their individual, personal, and/or official capacities,

acted to undertake a course of conduct to injure, oppress, threaten, intimidate

and deprive Plaintiff in the free exercise and enjoyment of the rights, privileges

and immunities, and equal protection of the law secured to him by the state

and federal Constitution, including Plaintiff’s First, Fourth Fifth and

Fourteenth Amendment rights; including but not limited to the right to be free

from illegal searches and seizures, the right to privacy; the right to not be

falsely arrested; the right to not be maliciously prosecuted; and the denial of

due process of law, and the equal protection of law.

       42.      Plaintiff had the right to be free from being charged with a

crime based on an illegal search with respect to property that was not even


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his, over which he had no control; plaintiff further had the right to due

process, of which he was denied; pursuant to the First and Fourteenth

Amendments to the United States Constitution.

       43.     Plaintiff had the right to be free from being charged with a

crime and prosecuted for a crime, when there was no probable cause, and

where exculpatory evidence existed, that defendants deliberately did not

photograph and intentionally lost or destroyed.

       44.     By reason of the foregoing, the Defendants, while acting under

color of state law, in their individual, personal, and/or official capacities,

targeted plaintiff and/or treated Plaintiff differently from similarly situated

individuals.

       45.     By reason of the foregoing, the Defendants, acting under color of

state law in their individual, personal, and/or official capacities, deprived

plaintiff of his constitutional rights.



                          SECOND CAUSE OF ACTION
                           AS TO ALL DEFENDANTS:
                        PURSUANT TO 42 U.S.C §§ 1983,
                          MALICIOUS PROSECUTION

      46.      Plaintiffs repeats, reiterates and realleges each and every allegation

contained in the prior paragraphs with the same force and effect as if more

fully and at length set forth herein.

      47.      Defendants were acting under color of state law, and while acting

under color of state law, or in their individual, personal, and/or official

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      capacities, deprived plaintiff of a federal constitutional right and

statutory right, and by way of defendants’ acts, defendants caused damages to

be suffered by plaintiff.

      48.    Defendants, in their individual, personal, and/or official capacities,

acted to undertake a course of conduct to maliciously prosecute the plaintiff,

which included, but is not limited to, causing violations of plaintiff’s equal

protection of the law secured to him by the state and federal Constitution,

including Plaintiff’s First, Fourth Fifth and Fourteenth Amendment rights.

      49.    Defendants commenced and/or continued of a criminal proceeding

against the plaintiff; the termination of the proceeding in plaintiff’s favor; there

was an absence of probable cause for the criminal proceeding; defendant’s

failed to take photos of critical evidence; defendants intentionally lost or

destroyed exculpatory evidence; defendants acted with actual malice.

      50.    The decision made by the prosecutor to bring, maintain, and

proceed with criminal charges was not independent of any pressure exerted by

the defendants herein.

      51.    The misconduct alleged herein is more than merely reporting a

crime, or giving testimony; defendants influenced the prosecutor's decision to

prosecute; defendants failed to come forward with any relevant and compelling

facts and/or proof; and thus, the defendants encouraged and/or importuned

the prosecutor to act.

52.   Defendants in their individual, personal, and/or official capacities
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played an active role in the prosecution; defendants failed to fully disclose

information which ought to and should have been disclosed to the prosecutor;

defendants omitted and/or misrepresented information to the prosecutor, and

such omission or representation initiated the prosecution; defendants acted

with malice.

      53.      Defendants and their agents did not have probable cause to effect

an arrest, and subsequently did not make a full and complete statement of the

facts to the prosecuting entity or prosecutor, or kept back information which in

all fairness should have been submitted to him or her; defendants withheld

material facts and/or evidence that related directly to the subject arrest and

prosecution, material facts which would have affected how the prosecutor

proceeded. The defendants failed to make a full and complete statement of the

facts to the prosecutor and/or the court, and/or held back information that

might have affected the results, and as such, defendants initiated a malicious

prosecution and violated plaintiff’s First, Fourth, Fifth, Fourteenth Amendment

rights, inter alia.



                             THIRD CAUSE OF ACTION
                             AS TO ALL DEFENDANTS:
                               ABUSE OF PROCESS

      54.      Plaintiff repeats, reiterates, and realleges all of the allegations set

forth above.




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      55.    Defendants in their individual, personal, and/or official capacities

abused process by failing to adhere to standards and procedures with respect

to documenting evidence in a criminal matter; defendants failed to photograph

or maintain critical evidence that defendants knew or should have known

would be exculpatory for the plaintiff. Moreover, defendants continued to

encourage prosecution of the plaintiff, despite their knowing that a critical

piece of evidence had not been photographed or maintained. As such,

defendants unlawfully and unconstitutionally deprived the plaintiff of his

liberty and freedom, without provocation or cause.

      56.    Even if it is claimed by the defendants that there was a valid

reason or probable cause for the arrest or criminal charges against plaintiff,

defendants still misused a legal tool or process for ulterior purposes,

constituting abuse of process.

      57.    Defendants employed regularly issued legal process to compel

performance or forbearance of some act, with intent to do harm without excuse

of justification; in order to obtain a collateral objective that is outside the

legitimate ends of the process.

      58.    There was a regularly issued process, either civil or criminal;

defendants had an intent to do harm without excuse or justification;

defendants used the process in a perverted or improper manner to obtain a

collateral objective, which was to harm and harass plaintiff herein, by




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interfering with plaintiffs’ First, Fourth, Fifth, and Fourteenth amendment

rights, inter alia.

      59.    The defendants abused their authority and abused their position;

defendants abused and violated the public trust and in particular the trust of

plaintiff. Defendants had no right under the laws of the land to detain, search,

arrest, harass, incarcerate, or prosecute the plaintiff under the existing

circumstances, yet they chose to regardless. The defendant officers, or other

agents of the defendants, or the John Does, who did not detain, search, arrest,

harass, incarcerate, or prosecute the plaintiff, should there be any, are liable to

plaintiff for their failure to protect and intervene, and a violation of their duty

to intervene, safeguard, and protect the plaintiff.

      60.     There existed an ulterior motive or purpose in using and abusing

the process, as well as an act in the use of the process that is not proper in the

regular prosecution of the subject legal proceedings.

      61.    Defendants had no probable cause for the arrest, but in addition to

that, defendants intentionally failed to photograph the bag that was a critical

piece of evidence at the center of the criminal matter against the plaintiff.

Moreover, defendants intentionally destroyed or allowed to be destroyed, or lost

or allowed to be lost, the bag that was a critical piece of evidence at the center

of the criminal matter against the plaintiff, and said evidence would have been

exculpatory for the plaintiff. Despite this abuse of process and lack of critical




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evidence, defendant proceeded with the prosecution of the plaintiff, and

proceeded with encouraging the prosecution of the plaintiff.

       62.   Defendants knew or should have known that had this bag been

preserved, or at the very least, photographed, it would have exonerated the

plaintiff, and defendant’s failure to do so caused and created damages for the

plaintiff.



                     FOURTH CAUSE OF ACTION
                       AS TO ALL DEFENDANTS:
               PURSUANT TO 42 U.S.C §§ 1981, 1983
         CONSPIRACY TO ENGAGE IN FIRST, FOURTH, FIFTH,
            AND FOURTEENTH AMENDMENT VIOLATIONS


       63.   Plaintiffs repeats, reiterates and realleges each and every allegation

contained in the prior paragraphs with the same force and effect as if more

fully and at length set forth herein.

       64.   Defendants acting under color of state law, in their individual,

personal, and/or official capacities, conspired to deprive plaintiff of a federally

protected right; there was the existence of a conspiracy involving state action;

and a deprivation of plaintiff’s civil rights in furtherance of the conspiracy by a

party to the conspiracy.

       65.   Defendants, in their individual, personal, and/or official capacities,

in their unconstitutional actions as set forth above, conspired with each other

and others, under color of law and individually, reached a mutual

understanding, and acted to undertake a course of unconstitutional actions as

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set forth above, conspired to undertake a course of conduct to injure, oppress,

intimidate and deprive Plaintiff in the free exercise and enjoyment of the rights,

privileges and immunities, and equal protection of the law secured to him by

the Constitution, including Plaintiff’s First, Fourth Fifth and Fourteenth

Amendment rights; including but not limited to the right to be free from illegal

searches and seizures, the right to privacy; the right to be free from abuse of

process and malicious prosecution, and the denial of due process of law, and

the equal protection of law.

      66.    By their conduct and under color of state law and individually; and

defendants, both individually and collectively, conspired and engaged in a

cover up, to deliberately fail to photograph critical evidence, to intentionally

lose or destroy critical evidence, in order to conceal the wrongful,

unconstitutional, and unlawful conduct taken against Plaintiff, and/or to

deprive plaintiff of exculpatory evidence, and to purposely mislead the

prosecutor, as set forth above, by defendants and their co-conspirators.

       67.   As set forth above, the Defendants, in their individual, personal,

and/or official capacities, and/or collectively, conspired together for the

purpose of depriving the Plaintiffs of the aforementioned constitutional

rights.




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                          FIFTH CAUSE OF ACTION
                              AS TO DEFENDANTS
                       CITY, NYPD, STATE, AND BOARD:
                        PURSUANT TO 42 U.S.C § 1983,
                           SUPERVISORY LIABILITY


      68.    Plaintiffs repeats, reiterates and realleges each and every allegation

contained in the prior paragraphs with the same force and effect as if more

fully and at length set forth herein.

      69.    THE CITY, NYPD, STATE, and BOARD, collectively referred to

herein for this cause of action as “supervisors”, and also other supervisors

whose names are currently unknown but are referred to as JOHN DOES in the

caption, directed WILLIAMS, LOGAN, CAMPBELL, MARISTANY, and other

JOHN DOES representing additional officers whose names are unknown at this

time, collectively referred to herein for this cause of action as “subordinates”, to

take the actions set forth herein; supervisors had actual knowledge of

subordinates’ violation of plaintiff’s civil and constitutional right, and

supervisors acquiesced in that violation; supervisor, with deliberate

indifference to the consequences, established and maintained a policy, practice

or custom which directly caused the violation.

      70.    Defendant supervisors, in their individual, personal, and/or official

capacities, individually and collectively, also engaged in supervisory roles and

were senior policymakers with oversight, control over, and responsibility for

other officers, agents, and/or employees.

      71.    Defendant supervisors, in their individual, personal, and/or official

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capacities, are and were responsible for training, instruction, supervision and

discipline.

      72.     The custom and practice as described herein, which took place

without proper supervision, created an unreasonable risk of the occurrence of

constitutional violations to occur, which they did, as describe herein; the

supervisors were aware that this unreasonable risk existed; the supervisor was

deliberately indifferent to that risk; the subordinates’ actions which caused and

created constitutional violations, resulted from the supervisors’ failure to adopt

a proper practice which would have prevented the constitutional violations.

      73.     Personal involvement by a supervisor or supervisors exist, as: the

defendant supervisors, known or unknown at this time, either named

specifically or referred to as JOHN DOE, participated directly in the alleged

constitutional violation, the defendant supervisor, after being informed of the

violation through a report or appeal, failed to remedy the wrong, the defendant

supervisor created a policy or custom under which unconstitutional practices

occurred, or allowed the continuance of such a policy or custom, the defendant

supervisor was grossly negligent in supervising subordinates who committed

the wrongful acts, and/or the defendant supervisor exhibited deliberate

indifference to the rights of parolees, specifically, the plaintiff, by failing to act

on information indicating that unconstitutional acts were occurring.

      74.     In light of the pattern and practice of an incompetent

investigation, arrest, and prosecution, lack of probable cause, the loss or


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destruction of exculpatory evidence, the failure to photograph evidence, that

plaintiff was subjected to as set forth herein, defendant supervisors, by way of

their being supervisors or having supervisory roles, created, and had notice of

unconstitutional actions and the creation of an unconstitutional situation and

event, as set forth above.



                          SIXTH CAUSE OF ACTION
                          AS TO ALL DEFENDANTS:
                        PURSUANT TO 42 U.S.C § 1983,
                     FAILURE TO INTERVENE/INTERCEDE

      75.    Plaintiffs repeats, reiterates and realleges each and every allegation

contained in the prior paragraphs with the same force and effect as if more

fully and at length set forth herein.

      76.    Plaintiff contends that one or more than one defendant (referred to

herein as “first referenced defendant” for purposes of this cause of action)

violated plaintiff’s constitutional rights, specifically, first, fourth, fifth, and

fourteenth amendment, among others, and that one or more than one other

defendants (referred to herein as “second referenced defendant(s)” for purposes

of this cause of action) should be liable for that violation because the second

referenced defendant(s) failed to intervene to stop the violation caused and

created by the first referenced defendant. Thus, the second referenced

defendant(s) is/are liable for that violation.

      77.    First referenced defendant violated plaintiff’s constitutional rights.

Second referenced defendant had a duty to intervene. Second referenced

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defendant had a reasonable opportunity to intervene. Second referenced

defendant failed to intervene.

      78.   Defendants, in their unconstitutional actions as set forth above,

and defendants, in their individual and official capacities, and defendants, by

their conduct both individually under color of state law, individually and

collectively, each acting individually and under color of state law and in the

furtherance of their interagency conspiracy, had opportunities to intercede and

prevent the wrongful, unconstitutional, and illegal acts towards plaintiff as set

forth above, which resulted in violations of the First, Fourth, Fifth, and

Fourteenth Amendments, and other constitutional violations, and failed to do

so.



                         SEVENTH CAUSE OF ACTION
                            AS TO DEFENDANTS
                          CITY, NYPD, AND BOARD:
                              MONELL CLAIM


      79.   Plaintiffs repeats, reiterates and realleges each and every allegation

contained in the prior paragraphs with the same force and effect as if more

fully and at length set forth herein.

      80.   Defendants CITY, NYPD, AND BOARD, in their unconstitutional

actions as set forth above, and all defendants, in their individual and official

capacities, and all defendants and their agents and employees of CITY, NYPD,

and BOARD, have developed and engaged in repeated practices, procedures,


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policies, and customs exhibiting deliberate indifference to the constitutional

rights of individuals situated as plaintiff, and plaintiff herein.

      81.      It was the practices, procedures, policies, and customs of

defendants to improperly deprive the plaintiff of his constitutional rights,

and/or to enter into a conspiracy to deprive plaintiff of his constitutional

rights.

      82.      CITY, NYPD, and BOARD, on their own, not only failed to prevent

constitutional violations, but instead, has used its power, management,

operation, and control to aid and abet in constitutional violations, and/or

conceal constitutional violations, and/or cover-up constitutional violations,

and/or allow and permit constitutional violations; and to control, manipulate

and inflict harm on civilians and/or parolees, or those who are are otherwise

being targeted by people of power within the CITY, NYPD, and/or BOARD.

      83.      All of the acts and omissions by the individual defendants,

described above were carried out pursuant to overlapping policies and

practices of the CITY, NYPD, and/or BOARD which were in existence at the

time of the conduct alleged herein and were engaged in with the full knowledge,

consent and cooperation and under the supervisory authority of defendants

CITY, NYPD, and BOARD.

      84.      Defendants CITY, NYPD, and BOARD, by their policy-making

agents, servants and employees, authorized sanctioned and/or ratified the

individual Defendants’ wrongful acts as described herein, and/or failed to


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prevent or stop those acts and/or allowed those acts to continue.

      85.    Defendants engaged in the unconstitutional acts as described

herein, notwithstanding their knowledge that said acts would jeopardize

plaintiff’s liberty, well-being, safety and constitutional rights.

      86.    Defendants CITY, NYPD, and BOARD, have grossly failed to train

and adequately supervise its personnel, agents, and/or employees.

      87.    All of the acts and omissions by the individual defendants,

described above were carried out pursuant to overlapping policies, patterns,

and practices of the CITY, NYPD, and BOARD, which were in existence at the

time of the conduct alleged herein and were engaged in with the full knowledge,

consent and cooperation and under the supervisory authority of defendant

CITY, NYPD, and BOARD.

      88.    Defendant CITY, NYPD, and BOARD, by their policy-making agents,

servants and employees, authorized sanctioned and/or ratified the individual

Defendants’ wrongful acts and/or failed to prevent or stop those acts and/or

allowed those acts to continue.

      89.    Defendants detained, arrested, falsely searched, prosecuted,

encouraged to prosecute, and victimized plaintiff in the absence of any evidence

of probable cause or reasonableness to do so, notwithstanding their knowledge

that said actions would jeopardize plaintiff’s liberty, well-being, safety and

constitutional rights.

      90.    Defendant CITY, NYPD, and BOARD, has grossly failed to train and


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adequately supervise its police officers in the fundamental law of use of

reasonable detention, search, arrest, and/or prosecution.

      91.      The direct and proximate results of the defendants’ acts are that

plaintiff suffered severe and permanent injuries of a physical and psychological

nature.



                         EIGHTH CAUSE OF ACTION
                            AS TO DEFENDANTS
                      CITY, NYPD, STATE, AND BOARD:
                MUNICIPAL AND/OR GOVERNMENTAL LIABILITY


      92.      Plaintiff repeats, reiterates, and realleges all of the allegations set

forth above.

      93.      That defendant CITY, NYPD, STATE, and BOARD, its employees,

agents and/or servants, failed to take any necessary steps to prevent this

occurrence; failed to properly train its employees, agents and/or servants in

arrest procedures; failed to control and supervise its employees, agents and/or

servants; failed to prevent the aforesaid detention, incarceration, violation of

constitutional rights, and permanent psychological injuries to the plaintiff; and

were otherwise reckless, careless, and negligent.

      94.      That as a result of the above referenced negligence; Plaintiff was

caused to sustain damages and their constitutional rights were violated.




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                          NINTH CAUSE OF ACTION
                   AS TO DEFENDANTS CITY AND WILLIAMS:
                   PURSUANT TO STATE OF NEW YORK LAW,
                         MALICIOUS PROSECUTION

      95.      Plaintiff repeats, reiterates and realleges all of the allegations set

forth above.

      96.      That one of or more than one of the defendant officers prepared

formal accusatory instruments, with the knowledge that no crime or violation

had occurred, and/or that there was no probable cause in existence regarding

the commission or a crime or a resulting arrest, detainment, or prosecution.

      97.      That one of or more than one of the defendant officers prepared

and filed charges against plaintiff with malice and the intent of depriving

plaintiff of his liberty and right to not have his person seized knowing they had

no cause or grounds to do so.

      98.      That one of or more than one of the defendant officers prepared

and filed these charges against plaintiff with the intent to deprive plaintiff of his

constitutional rights.

      99.      That the defendants caused the commencement or continuation of

a criminal proceeding by against the plaintiff, the termination of the proceeding

was in favor of the plaintiff, resulting in a total acquittal; there was no probable

cause for the criminal proceeding, and defendants acted with actual malice.

      100. The misconduct alleged herein is more than merely reporting a

crime, or giving testimony; defendants influenced the prosecutor's decision to

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prosecute; defendants failed to come forward with any relevant and compelling

facts and/or proof; and thus, the defendants encouraged and/or importuned

the prosecutor to act.



                   TENTH CAUSE OF ACTION
                       AS TO DEFENDANTS
                CITY, NYPD, STATE, AND BOARD:
              PURSUANT TO NEW YORK STATE LAW,
    NEGLIGENT HIRING, TRAINING, SUPERVISION, AND RETENTION

      101. Plaintiff repeats, reiterates and realleges all of the allegations set

forth above.

      102. The defendant CITY, NYPD, STATE, AND BOARD (collectively

referred to herein as “the municipal defendants”, for this cause of action) hired

and/or trained and/or supervised and/or retained an employee, specifically,

the individually named defendants herein WILLIAMS, LOGAN, CAMPBELL,

MARISTANY, and JOHN DOE or DOES (collectively referred to herein as “the

individually named defendants”), who were unfit for his or her position, with

knowledge of the employee's unfitness, and which caused an injury to plaintiff.

      103. The municipal defendants were negligent in its hiring process

regarding officers, employees, and/or agents, including but not limited to the

individually named defendants in failing to properly hire, train, supervise, and

retain said officers, employees, and/or agents.

      104. The municipal defendants, their agents, servants, and/or

employees had a duty to investigate, educate, and/or supervise its officers


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including the individually named defendants and make sure that said officers

were fully aware of all proper procedures and policies with respect to arrests,

probable cause, and the maintenance and preservation of evidence in criminal

matters.

      105. The municipal defendants, their agents, servants, and/or

employees, had a duty to supervise the individually named defendants, and

properly monitor their behavior, acts, actions, and performance with respect to

arrests and post-arrest procedure.

      106. The municipal defendants, their agents, servants, and/or

employees, breached their aforementioned duties and therefore negligently

hired, retained, supervised, and/or monitored the individually named

defendants.

      107. The municipal defendants, their agents, servants, and/or

employees, knew or should have known that the individually named

defendants would be likely to deviate from policing accepted standards of

practice, by failing to properly document critical evidence in a criminal case,

among other things, on the municipal defendant’s behalf, and/or in the course

of his employment with the municipal defendants in a negligent and/or

reckless manner.

      108. The municipal defendants, their agents, servants, and/or

employees, placed their officers, employees, and/or agents, specifically the

individually named defendants, in a position to cause foreseeable harm, which


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the plaintiff would have been spared had the employer taken reasonable care in

supervising or retaining the individually named defendants.

      109. The municipal defendants, their agents, servants, and/or

employees, knew or should have known of the individually named defendants’

propensity for the conduct that caused the injury, including but not limited to,

failing to adhere to the requirement of probable cause, and failing to properly

photograph and preserve evidence.

      110. The municipal defendants, their agents, servants, and/or

employees, were acting in the scope of their employment when they failed to

properly execute their duties with respect to properly training and supervising

the individually named defendants.

      111. The individually named defendants were performing actions to

further the municipal defendant’s interest, or to carry out duties incumbent

upon the employ in furthering the employer’s business.

      112. The municipal defendants were on notice of similar acts of its

officers, employees, and/or agents, and thus, it was incumbent upon them to

take whatever supervisory precautions that were necessary to prevent such

acts from continuing to occur, specially, the act that occurred that involved the

plaintiff herein.

      113. The municipal defendants were negligent in its hiring, retention,

and supervision of the individually named defendants.

      114. As a result of the municipal defendants’ negligent hiring,


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supervision, and retention, plaintiff was injured and suffered, and continues to

suffer, damages.

      115. This cause of action also applies, in its entirety, to any applicable

JOHN DOE, who was employed by the CITY and/or NYPD, who was involved in

the subject incident, whose name is not known at this time.



                        ELEVENTH CAUSE OF ACTION
                              AS TO DEFENDANTS
                       CITY, NYPD, STATE, AND BOARD:
                           RESPONDEAT SUPERIOR


      116. Plaintiff repeats, reiterates and realleges each and every allegation

contained herein as if fully set forth at length herein.

      117. All of the acts and omissions by the individually named

defendants, described above were carried out pursuant to overlapping policies,

patterns, and practices of the municipal defendants, which were in existence at

the time of the conduct alleged herein and were engaged in with the full

knowledge, consent and cooperation and under the supervisory authority of the

municipal defendants.

      118. The municipal defendants, by their policy-making agents, servants

and employees, authorized sanctioned and/or ratified the individually named

defendants’ wrongful acts and/or failed to prevent or stop those acts and/or

allowed those acts to continue.

      119. The individually named defendants detained, arrested, falsely


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searched, prosecuted, and victimized plaintiff in the absence of any evidence of

probable cause or reasonableness to do so, notwithstanding their knowledge

that said actions would jeopardize plaintiff’s liberty, well-being, safety and

constitutional rights.

      120. The municipal defendants have grossly failed to train and

adequately supervise its police officers in the fundamental law of use of

reasonable detention, search, arrest, evidence, and/or prosecution.

      121. The direct and proximate results of the defendants’ acts are that

plaintiff suffered severe and permanent injuries of a physical and psychological

nature.



                      TWELFTH CAUSE OF ACTION
                        AS TO ALL DEFENDANTS:
            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

      122. Plaintiffs repeats, reiterates and re-alleges each and every

allegation contained in the paragraphs set forth above, with the same force and

effect as if more fully set forth herein.

      123. That defendants herein had a duty of care to the plaintiffs; that

said duty was breached; that said breach resulted directly in emotional harm.

      124. That defendants’ intentional actions go beyond all possible bound

of decency and is regarded as atrocious and utterly intolerable in a civilized

community.

      125. That defendants’ conduct was extreme and outrageous.

      126. That defendants acted intentionally and recklessly, caused severe
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emotional distress and mental trauma to the plaintiffs; that defendants

engaged in extreme and outrageous conduct; intentionally and recklessly

causing, or intentionally and recklessly disregarding a substantial probability

of causing, severe emotional distress; and there lies a causal connection

between the conduct and injury; and resulting severe emotional distress.

      127. That the acts of defendants described herein constitute an

intentional infliction of emotional distress against the plaintiff, and the plaintiff

has suffered damages pursuant thereto, and will continue to suffer same in the

future.

      128. As a result of defendants’ actions, plaintiff was injured and

suffered, and continues to suffer, emotional and other damages.



                      THIRTEENTH CAUSE OF ACTION
                          AS TO ALL DEFENDANTS:
               NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

      129. Plaintiffs repeats, reiterates and re-alleges each and every

allegation contained in the paragraphs set forth above, with the same force and

effect as if more fully set forth herein.

      130. That defendants herein had a duty of care to the plaintiff; that said

duty was breached; that said breach resulted directly in emotional harm.

      131. That defendants’ negligent actions go beyond all possible bound of

decency, and are regarded as atrocious and utterly intolerable in a civilized

community.


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      132. That defendants’ conduct placed plaintiff in reasonable fear of

immediate personal injury, which caused emotional distress, which manifested

in a physical way.

      133. That defendants’ negligent actions were extreme and outrageous.

      134. That defendants, through extreme, outrageous, and negligent

behavior, caused severe emotional distress and mental trauma to the plaintiff;

that defendants engaged in extreme and outrageous conduct; negligently and

recklessly causing, or negligently and recklessly disregarding a substantial

probability of causing, severe emotional distress; and there lies a causal

connection between the conduct and injury; and resulting severe emotional

distress.

      135. That the acts of defendant described herein constitute a negligent

infliction of emotional distress against the plaintiff, and the plaintiff has

suffered damages pursuant thereto, and will continue to suffer same in the

future.

      136. As a result of defendants’ actions, plaintiff was injured and

suffered, and continue to suffer, emotional and other damages.



      *        *     *



      Because of the acts set forth herein, and each and every cause of action

set forth herein, and plaintiff’s unjust incarceration, plaintiff has suffered and


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